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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
  -   -    -    -   -   -   -   -   -   -   -   -   -   -   -   -   X


  UNITED STATES OF AMERICA

                        - v. -                                           UNSEALING ORDER

  FILIPPO BERNARDINI,                                                    21 Cr. 458

                            Defendants.

                                                                    X

          Upon the application of the United States of America, by and

through Assistant United States Attorney Daniel G. Nessim,                                 it is

hereby ORDERED that Indictment 21 Cr. 458,                                 which was filed under

seal on July 14, 2021 and is annexed hereto, is unsealed.


SO ORDERED .

Dated:         New York, New York
               January 5 , 2022



                                                                HONORABLE ROBERT W. LEHRBURGER
                                                                UNITED STATES MAGISTARTE JUDGE
